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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

VOTER REFERENCE FOUNDATION,                       )
LLC,                                              )
                                                  )
       Plaintiff,                                 )
v.                                                )
                                                  )   CASE NO: 1:22-cv-00222-JB-KK
                                                  )
RAÚL TORREZ, in his official                      )
capacity as New Mexico Attorney General,          )
                                                  )
and                                               )
                                                  )
MAGGIE TOULOUSE OLIVER, in her                    )
Official capacity as New Mexico                   )
Secretary of State,                               )
                                                  )
       Defendants.                                )

                    PLAINTIFF VOTER REFRENCE FOUNDATION, LLC’S
                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Pursuant to D.N.M.LR-Civ. 7.8(b), Plaintiff Voter Reference Foundation (“VRF”) submits

the attached brief as Supplemental Authority.

       Throughout this litigation, all Parties and this Court have cited to various decisions in Pub.

Int. Legal Found., Inc. v. Bellows. See Dkt. 51 at 152 (citing Pub. Interest Legal Found., Inc. v.

Bellows, No. CIV 20-0061 GZS, 2022 U.S. Dist. LEXIS 38875, at *13 (D. Me. Mar. 4,

2022)(Singal, J.); Dkt. 124 at 64 (citing Pub. Interest Legal Found., Inc. v. Bellows, Slip Op., at

*9 WL 2663827 (March 28, 2023) (“Bellows II”); Dkt. 126 at 32 (citing Bellows II). In the most

recent decision in that case, the District Court held on summary judgment that (1) Maine’s

prohibition on publishing voter data on the internet was preempted by the NVRA and (2) the plain




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text of the NVRA requires the disclosure of statewide voter registration lists. Bellows II, at *9. The

Maine Secretary of State appealed that decision.

       On appeal, the United States Department of Justice (“DOJ”) filed the attached amicus brief

in support of the plaintiff, arguing, as VRF has argued in this case, that individually identifiable

voter data constitute “records” pursuant to § 20507(i)(1), Am. Br. at 7, and that the “NVRA

preempts any condition on Section 8(i)’s disclosure right—including restrictions on using and

disseminating voter data—when it would interfere with the statute’s purposes.” Id. at 6-7.

       VRF concedes that this amicus brief is not binding authority. However, the DOJ’s

interpretation of the NVRA is pertinent and instructive. As the DOJ acknowledges, “[t]he Attorney

General is charged with enforcing the NVRA. 52 U.S.C. 20510(a). Accordingly, the United States

has an interest in ensuring that Section 8(i) is correctly construed and given its proper preemptive

scope.” Id. at 1. Accordingly, the DOJ’s interpretation of the § 20507(i)(1), which is consistent

with VRF’s position, is highly relevant to this case and should be considered by this Court.


Dated: August 3, 2023

                                                      Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I, Edward D. Greim, certify that on August 3, 2023, a copy of foregoing was filed with the

Clerk of the Court using the CM/ECF system, which sent notification to the following via email:

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                                               3
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                             No. 23-1361


           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIRST CIRCUIT
                      ___________________

             PUBLIC INTEREST LEGAL FOUNDATION,

                                       Plaintiff-Appellee
                                  v.

           SHENNA BELLOWS, in her official capacity as the
               Secretary of State for the State of Maine,

                                     Defendant-Appellant
                         __________________

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MAINE
                   ___________________

BRIEF FOR THE UNITED STATES AS AMICUS CURIAE IN SUPPORT OF
PLAINTIFF-APPELLEE URGING CERTIFICATION OR AFFIRMANCE ON
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               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIRST CIRCUIT
                          _________________

                                     No. 23-1361

                  PUBLIC INTEREST LEGAL FOUNDATION,

                                               Plaintiff-Appellee
                                          v.

                SHENNA BELLOWS, in her official capacity as the
                    Secretary of State for the State of Maine,

                                           Defendant-Appellant
                               __________________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MAINE
                       ___________________

 BRIEF FOR THE UNITED STATES AS AMICUS CURIAE IN SUPPORT OF
 PLAINTIFF-APPELLEE URGING CERTIFICATION OR AFFIRMANCE ON
                THE ISSUES ADDRESSED HEREIN
                       ________________

                     INTEREST OF THE UNITED STATES

      This case raises important issues regarding Section 8(i) of the National Voter

Registration Act (NVRA), 52 U.S.C. 20507(i). The Attorney General is charged

with enforcing the NVRA. 52 U.S.C. 20510(a). Accordingly, the United States

has an interest in ensuring that Section 8(i) is correctly construed and given its

proper preemptive scope. The United States files this brief under Federal Rule of

Appellate Procedure 29(a).
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                         STATEMENT OF THE ISSUES

      The United States addresses the following issues:

      1. Whether Section 8(i) requires disclosure of Maine’s voter registration

database.

      2. Whether the Court should certify to the Maine Supreme Judicial Court

the question of how to interpret Maine’s statutory restrictions on using and

disseminating voter data.

      3. If the Court declines to certify, whether Section 8(i) preempts Maine’s

use and dissemination restrictions to the extent they interfere with the NVRA’s

purposes.

      4. Whether the NVRA leaves States and individuals free to protect voter

privacy by redacting sensitive information from released voter records or enforcing

other laws prohibiting misuse of personal information.1

                            STATEMENT OF THE CASE

1.    Statutory Background

      a. In 1993, Congress passed the NVRA, Pub. L. No. 103-31, 107 Stat. 77

(52 U.S.C. 20501-20511). Congress found that governments have a “duty” to

promote the “fundamental right” to vote, and that “discriminatory and unfair

registration laws and procedures” can damage federal voter participation and

      1
          The United States takes no position on any issue not addressed herein.
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“disproportionately harm” participation “by various groups, including racial

minorities.” 52 U.S.C. 20501(a).

      Section 8 of the NVRA, titled “[r]equirements with respect to administration

of voter registration,” establishes uniform procedures to increase voter registration

in federal elections while maintaining accurate voter rolls. See 52 U.S.C. 20507.

This case concerns Section 8(i), titled “[p]ublic disclosure of voter registration

activities.” 52 U.S.C. 20507(i). Section 8(i) provides, in relevant part:

          Each State shall maintain for at least 2 years and shall make available for
          public inspection and, where available, photocopying at a reasonable
          cost, all records concerning the implementation of programs and
          activities conducted for the purpose of ensuring the accuracy and
          currency of official lists of eligible voters, except to the extent that such
          records relate to a declination to register to vote or to the identity of a
          voter registration agency through which any particular voter is
          registered.

52 U.S.C. 20507(i)(1).

      b. In 2002, Congress enacted the Help America Vote Act (HAVA), Pub. L.

No. 107-252, 116 Stat. 1666 (52 U.S.C. 20901-21145). HAVA required each State

to create “a single, uniform, official, centralized, interactive computerized

statewide voter registration list,” which “shall serve as the single system for storing

and managing the official list of registered voters throughout the State.” 52 U.S.C.

21083(a)(1)(A) and (a)(1)(A)(i). Upon receiving registration applications, election

officials must “electronically enter[]” the information “into the computerized list

on an expedited basis.” 52 U.S.C. 21083(a)(1)(A)(vi). States must take specified
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steps to ensure that officials can “verify the accuracy of the information provided

on applications for voter registration,” and must “ensure that voter registration

records in the State are accurate and are updated regularly.” 52 U.S.C. 21083(a)(4)

and (a)(5)(B)(i).

2.    The Present Controversy

      a. As HAVA requires, Maine maintains its voter-roll information in a single

database. Doc. 87, at 4. 2 Plaintiff Public Interest Legal Foundation (PILF), a

nonprofit “that ‘seeks to promote the integrity of elections nationwide,’” sent

Maine Secretary of State Shenna Bellows (the Secretary) a request in October 2019

for “an electronic copy of Maine’s ‘statewide voter registration list.’” Doc. 87, at

3, 5 (citations omitted). A state law restricting access to the State’s voter list

prohibited the Secretary from releasing this data. Doc. 87, at 5. PILF sued the

Secretary under the NVRA. Doc. 87, at 5.

      b. In June 2021, Maine added a new Exception J to its confidentiality law.

Doc. 87, at 5. Exception J allows anyone “evaluating the State’s compliance with

its voter list maintenance obligations” to “purchase” a subset of information—the

Voter File—from the statewide database. Me. Stat. Tit. 21-A, § 196-A(1)(J)

(2023). However, those obtaining the Voter File must comply with two privacy


      2
          “Doc. __, at __” refers to the docket entry and page number of documents
filed in the district court, No. 1:20-cv-61 (D. Me.). “Sec’y Br.” and “PILF Br.”
refer respectively to the Secretary’s and PILF’s opening briefs on appeal.
     Case 1:22-cv-00222-JB-KK Document 137 Filed 08/03/23 Page 16 of 43

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restrictions. First, the Use Ban states that they may not “use the voter information

or any part of the information for any purpose that is not directly related to

evaluating the State’s compliance with its voter list maintenance obligations.” Id.

§ 196-A(1)(J)(1). Second, the Dissemination Ban states that they may not cause

“any part of the voter information that identifies, or that could be used with other

information to identify, a specific voter, including but not limited to a voter’s

name, residence address or street address, to be made accessible by the general

public on the Internet or through other means.” Id. § 196-A(1)(J)(2).

      c. After Maine enacted Exception J, PILF amended its complaint. Doc. 55.

The Secretary moved to dismiss. Doc. 58. The district court denied the motion in

relevant part, holding that Section 8(i) required the State to disclose the Voter File

and that PILF plausibly alleged its preemption claims. Doc. 61, at 9-12.

      Both sides later moved for summary judgment (Docs. 74, 80), and the court

granted PILF’s motion (Docs. 87, 88). It first refused the Secretary’s request to

reconsider its holding that Section 8(i) mandates the Voter File’s disclosure. Doc.

87, at 7 & n.10, 10-11. It then found that the plain language of Maine’s Exception

J would forbid PILF from (1) using the Voter File “to evaluate another State’s

compliance with its voter list maintenance obligations,” (2) “enforc[ing] the

NVRA” against other States, and (3) “publicly releasing the Voter File’s data.”

Doc. 87, at 11-12 & nn.17-18. Finally, the court held that Exception J poses a
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sufficient obstacle to the accomplishment of the NVRA’s purposes to warrant

preemption. Doc. 87, at 12-13. It issued a declaratory judgment. Doc. 87, at 17.

      d. The Secretary timely appealed. Doc. 89.

                          SUMMARY OF ARGUMENT

      The district court correctly held that Section 8(i) requires the Secretary to

disclose the Voter File. Statutory text, context, and purpose establish that Section

8(i) covers records concerning both voter registration and list-maintenance

activities, including voter registration lists such as the Voter File. The Secretary’s

reliance on select provisions of Section 8 and statements from the Federal Election

Commission (FEC) do not support her contrary argument.

      Before resolving the subsequent preemption question, this Court should

certify the question of Exception J’s scope to the Maine Supreme Judicial Court.

The parties hotly debate the Use Ban’s breadth, and questions remain about the

Dissemination Ban’s scope. Maine’s highest court alone can issue binding

interpretations of state law, and it may provide narrowing constructions that

obviate some or all of the preemption issues in this case.

      Should this Court decline to certify, then the NVRA would partially preempt

both the Use and Dissemination Bans as the district court interpreted them. The

NVRA preempts any condition on Section 8(i)’s disclosure right—including

restrictions on using and disseminating voter data—when it would interfere with
     Case 1:22-cv-00222-JB-KK Document 137 Filed 08/03/23 Page 18 of 43

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the statute’s purposes. For similar reasons, Section 8(i) can be viewed as creating

implied federal rights to use or disseminate the records it requires to be disclosed,

when needed to fulfill the NVRA’s purposes. As interpreted by the district court,

Maine’s broad bans pose obstacles to fulfilling the NVRA’s purposes and are

preempted as to applications that conflict with those purposes.

      However, Maine retains many options to protect voters’ privacy, which the

NVRA does not preempt or hinder. For instance, States may redact certain

particularly sensitive information before disclosing voters’ records. Likewise, they

may prohibit use or dissemination of voter data that does not further the NVRA’s

purposes. And the NVRA leaves intact many state and federal laws designed to

prevent voter intimidation or other abuses.

                                   ARGUMENT

                                          I

THE NVRA REQUIRES THE SECRETARY TO DISCLOSE THE VOTER
                         FILE

A.    Section 8(i) Covers States’ Voter Lists

      The district court correctly held that Section 8(i) applies to voter registration

databases like the Voter File. The NVRA’s language, structure, and purpose

support this reading.

      1. The “starting point in discerning the meaning of a statute is the provision

itself.” Colón-Marrero v. Vélez, 813 F.3d 1, 11 (1st Cir. 2016). Section 8(i)
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requires disclosure of “all records concerning the implementation of programs and

activities conducted for the purpose of ensuring the accuracy and currency of

official lists of eligible voters.” 52 U.S.C. 20507(i)(1). Maine’s Voter File, which

records the results of all the State’s registration and list-maintenance activities,

falls squarely within this language. To see why, take each piece of the statutory

text step by step.

      First, both Maine’s registration and list-maintenance efforts plainly

constitute “programs” or “activities.” 52 U.S.C. 20507(i)(1). A “program” is “a

plan of procedure” or “schedule or system under which action may be taken toward

a desired goal,” while an “activity” is a “natural or normal function or operation.”

Webster’s Third New International Dictionary 22, 1812 (1993). Maine’s efforts

meet either definition. Both federal and state law require Maine to make ongoing,

continuous efforts to verify applicants’ eligibility to vote, register eligible voters in

its central voter registration system, revise its voter registration records, and

remove ineligible voters from its voter rolls. See 52 U.S.C. 20504-20506,

20507(a)-(g), 21083; Me. Stat. Tit. 21-A, §§ 128, 161, 162-A, 232, 233 (2023).

Each of these processes “is a ‘program’ because it is” a plan of procedure “carried

out in the service of a specified end—maintenance of voter rolls.” Project

Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 335 (4th Cir. 2012) (Project
      Case 1:22-cv-00222-JB-KK Document 137 Filed 08/03/23 Page 20 of 43

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Vote). And each “is an ‘activity’ because it is a particular task and deed of [Maine]

election employees,” a normal operation for which they are responsible. Ibid.

      Next, these registration, maintenance, and removal activities are “conducted

for the purpose of ensuring the accuracy and currency of official lists of eligible

voters.” 52 U.S.C. 20507(i)(1). Maine’s after-the-fact list-maintenance activities

plainly ensure that the voter rolls remain both current and accurate as voters move,

die, changes their names, or affiliate with new political parties. See also 52 U.S.C.

20507(a)(4) and (b)-(g), 21083(a)(2)(B) and (a)(4) (requiring States, under both the

NVRA and HAVA, to conduct continuous list maintenance activities while

imposing safeguards to prevent improper removals). But registration processes

also serve this purpose, as “voter lists are not ‘accurate’ or ‘current’ if eligible

voters have been improperly denied registration or if ineligible persons have been

added to the rolls.” Project Vote, 682 F.3d at 335.

      Meeting these goals is not a mere byproduct of the registration process

(contra Sec’y Br. 33); application review and database input processes have no

other purpose but to ensure that the voter rolls as a whole remain correct and up-to-

date. Congress acknowledged as much in the NVRA itself: It instituted several

new mandatory voter registration methods, 52 U.S.C. 20504-20506, and required

voter registration forms to ask for the information (but only the information)

needed to enable officials to “assess the eligibility of the applicant,” 52 U.S.C.
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20504(c)(2)(B)(ii), 20504(c)(2)(C), and 20508(b)(1)-(2). And Congress further

emphasized these purposes in passing HAVA: It required all States to develop

statewide electronic voter databases, and mandated that election officials “verify

the accuracy” of applicants’ information and enter voters’ information into the

statewide list “on an expedited basis,” so that States would always have an

accurate and up-to-date list. 52 U.S.C. 21083(a)(1)(A)(vi) and (a)(5)(B)(i).

      Moreover, the information in the Voter File constitutes “records concerning

the implementation of” Maine’s registration and list-maintenance programs. 52

U.S.C. 20507(i)(1). Section 8(i) extends not just to records “of” the

implementation of programs or activities, but rather to all records “concerning”

implementation. Ibid. (emphasis added). Like its synonym “regarding,” the word

“concerning” used “in a legal context generally has a broadening effect, ensuring

that the scope of a provision covers not only its subject but also matters relating to

that subject.” Patel v. Garland, 142 S. Ct. 1614, 1622 (2022) (citation omitted).

The Voter File reflects the results of Maine’s registration and list-maintenance

activities, and therefore “concern[s]”—or relates to—the “implementation” of

those activities. Project Vote, 682 F.3d at 335. Moreover, the NVRA applies its

disclosure requirement to “all” such “records.” 52 U.S.C. 20507(i)(1) (emphasis

added). “All,” like the similar word “any,” gives a provision “an expansive

meaning,” covering implementation-related records “of whatever kind.” United
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States v. Dion, 37 F.4th 31, 35 (1st Cir.), cert. denied, 143 S. Ct. 387 (2022).

“[T]he statute’s use of the term ‘all records’ relating to [a State’s] ‘implementation

of’ the program or activity” indicates that Section 8(i) “encompasses a broad range

of disclosable documents.” Public Int. Legal Found., Inc. v. North Carolina State

Bd. of Elections, 996 F.3d 257, 266 (4th Cir. 2021). This includes the Voter File.

      Finally, the Voter File is not among the two sets of records excluded from

Section 8(i)’s reach: those that “relate to a declination to register to vote or to the

identity of a voter registration agency through which any particular voter is

registered.” 52 U.S.C. 20507(i)(1). As “Congress explicitly enumerate[d] certain

exceptions” to Section 8(i), the Secretary cannot invent any “additional,” “implied”

exceptions for registration databases. United States v. Councilman, 418 F.3d 67,

75 (1st Cir. 2005) (en banc) (citation omitted). That Congress needed to exclude

two types of records, both of which relate to voter registration, also confirms that

Section 8(i) otherwise reaches registration records.

      2. A “contextual review” further shows that Section 8(i) requires disclosure

of the Voter File. Colón-Marrero, 813 F.3d at 12. Section 8(i) is captioned

“Public disclosure of voter registration activities,” 52 U.S.C. 20507(i) (emphasis

added), and falls within a section titled “[r]equirements with respect to

administration of voter registration,” 52 U.S.C. 20507 (emphasis added). “These

statutory labels reinforce the conclusion that Section 8(i)(1) governs voter
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registration records,” Project Vote, 682 F.3d at 337, including records of who is

registered.

      Congress also specified throughout Section 8 when its provisions applied

solely to list maintenace. For instance, Section 8(c), titled “[v]oter removal

programs,” sets time limits for completing “any program the purpose of which is to

systematically remove the names of ineligible voters from the official lists of

eligible voters.” 52 U.S.C. 20507(c)(2)(A). This language refers only to large-

scale list-maintenance programs. Section 8(a)(4) is even more explicit, requiring

States to implement a “general program that makes a reasonable effort to remove

the names of ineligible voters from the official lists of eligible voters by reason of”

voters’ death or change of address. 52 U.S.C. 20507(a)(4). Section 8(i) contains

no such language—a presumptively intentional difference. See United States v.

Saemisch, 70 F.4th 1, 10 (1st Cir. 2023).

      By contrast, Section 8(a)—like Section 8(i)—regulates registration as well

as list-maintenance activities. 52 U.S.C. 20507(a); see 52 U.S.C. 20507(a)(1) and

(a)(5)(A) (mandating measures to “inform applicants” of “voter eligibility

requirements” and “ensure that any eligible applicant is registered to vote”). And

in Section 8(b), Congress set standards for “[a]ny State program or activity to

protect the integrity of the electoral process by ensuring the maintenance of an

accurate and current voter registration roll for elections for Federal office.” 52
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U.S.C. 20507(b)(1). This language, like Section 8(i)’s, applies across-the-board to

activities designed to “ensur[e] the accuracy and currency of official lists of

eligible voters.” 52 U.S.C. 20507(i)(1). Such activities include adding eligible

applicants to the lists and leaving off ineligible applicants.

      3. To the extent any textual “ambiguity” remains, statutory purpose can

“resolve” it. Penobscot Nation v. Frey, 3 F.4th 484, 498 (1st Cir. 2021) (en banc),

cert. denied, 142 S. Ct. 1668 and 142 S. Ct. 1669 (2022). Disclosure of the Voter

File plainly would advance all of the NVRA’s purposes: increasing eligible voter

registration, enhancing voter participation, protecting electoral integrity, and

maintaining accurate and current voter registration rolls. See 52 U.S.C. 20501(b).

Whether “voter registration rolls” are “accurate and current,” 52 U.S.C.

20501(b)(4), cannot be determined without actually examining them. Public

inspection of the information included in the Voter File, both alone and combined

with other records, can help ensure that States are properly evaluating applications,

rejecting applicants only for legitimate reasons, processing eligible applications in

a timely fashion, and engaging in uniform and nondiscriminatory registration and

list-maintenance practices. See, e.g., 52 U.S.C. 20504(e); 52 U.S.C. 20506(d); 52

U.S.C. 20507(a)(1) and (b)(1). Inspection of such records also may help uncover

systemic problems in a jurisdiction, so voters or organizations can remedy

registration and list-maintenance issues before future elections. See, e.g., Project
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Vote, 682 F.3d at 333. Public disclosure of the Voter File thus advances the

NVRA’s central purposes.

B.     The Secretary’s Attempts To Limit 8(i)’s Scope Fail

       1. The Secretary responds (Br. 27, 33) that Section 8(i) applies only to list-

maintenance programs—and even then, only to records that directly “describe” or

“document” these programs (Br. 30). As discussed above, however, neither text,

context, nor purpose supports this distinction between voter-registration and list-

maintenance activities, or so strictly limits the records covered. In any event, the

two categories cannot be so neatly separated. As the Secretary herself

acknowledges (Br. 12), some of the data in the Voter File—like voter participation

history, or updates to voters’ addresses—“is not derived from” voters’ initial

registration forms, but rather from later list-maintenance. The Voter File therefore

is a record concerning the implementation of both registration and list-maintenance

activities.

       2. The Secretary at times goes further and claims (Br. 27, 29-31, 33-34, 43-

44) that Section 8(i) does not even apply to States’ ongoing, “day-to-day” list-

maintenance processes. Rather, she asserts (Br. 27), Section 8(i) reaches only the

purposeful, periodic list-maintenance programs “authorized and regulated by the

remainder of § 8.”
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      But Section 8(i)’s text cannot be read to tether disclosure to those programs

alone. “If Congress had wanted the provision to have that effect, it could have said

so in words far simpler than those that it wrote.” Biden v. Texas, 142 S. Ct. 2528,

2539 (2022). It could have limited disclosure to records of “list-maintenance

programs described in this section.” Or it could have employed language like that

in other provisions of Section 8, which limit themselves to the removal of names or

other particular list-maintenance processes. E.g., 52 U.S.C. 20507(a)(4), (c)(2), (d)

and (f). But Section 8(i) uses general language, applying to all records concerning

implementation of programs “conducted for the purpose of ensuring the accuracy

and currency of official lists of eligible voters.” 52 U.S.C. 20507(i)(1). Section

8(i) also reaches “activities,” ibid., a word that “suggests great breadth,” Johnson

v. City of Saline, 151 F.3d 564, 570 (6th Cir. 1998), and plainly covers

“administrative functions” like “the maintenance of databases,” Arizona v.

Thompson, 281 F.3d 248, 257 (D.C. Cir. 2002).

      3. Lastly, the Secretary asserts (Br. 38-41) that Congress did not have the

Voter File in mind when it crafted Section 8(i). She notes (Br. 39), for instance,

that some provisions in Section 8 mention voter lists, but that Section 8(i) does not

specify that such lists are disclosable. Congress, however, chose to draft a general

provision that covers “all” records concerning implementation of relevant

programs or activities. “This commodious phrasing leaves no doubt that Congress
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did not intend to exclude particular kinds of [records] simply because they were

left unmentioned.” Dion, 37 F.4th at 36.

      The Secretary also relies (Br. 40-41) on Section 8(i)(2). This paragraph

specifies that States must maintain certain records about confirmation-of-address

mailings sent as part of Section 8(a)(4) programs, but it does not mention voter

registration databases (or any other records). 52 U.S.C. 20507(i)(2). The

Secretary asserts (Br. 40-41)that Section 8(i)(2) implicitly limits the personal voter

data that Section 8(i)(1) renders disclosable to the data in the enumerated records.

      Section 8(i)(2), however, is not limited to its examples. It states that “[t]he

records maintained pursuant to paragraph (1) shall include” the enumerated

records. 52 U.S.C. 20507(i)(2) (emphasis added). And “the word ‘include’

indicates the list is illustrative rather than comprehensive.” Del Grosso v. Surface

Transp. Bd., 898 F.3d 139, 142 (1st Cir. 2018). Indeed, Congress debated the

extent to which it would restrict disclosure under Section 8(i), see S. Rep. No. 6,

103rd Cong., 1st Sess. 40 (1993) (Senate Report), and settled on the two narrow

categorical exceptions that it listed in Section 8(i)(1), see 52 U.S.C. 20507(i)(1).

Limiting Section 8(i)’s coverage of voter data only to the enumerated examples in

Section 8(i)(2) “would render” these express exclusions in Section 8(i)(1)

“superfluous.” Baker v. Smith & Wesson, Inc., 40 F.4th 43, 49 (1st Cir. 2022).
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Section 8(i)(2) does not exclude other records; it merely “describes” certain “set[s]

of records that must be” created and “maintained.” Project Vote, 682 F.3d at 337.

      The Secretary then points to a 1994 FEC guidance document. Br. 42-44.

This document discusses Section 8(i)(2)’s express examples of disclosable records;

it then says that States might also wish to retain “for the same period of time all

records of removals from the voter registration list,” but “[a]s a matter of prudence,

* * * not as a requirement of the Act.” National Clearinghouse on Elec. Admin.,

Fed. Elec. Comm’n, Implementing the National Voter Registration Act of 1993:

Requirements, Issues, Approaches, and Examples 7-1 (Jan. 1, 1994),

https://perma.cc/Z5UL-LPBY.

      This statement cannot sustain the Secretary’s interpretation of Section 8(i).

For one thing, the FEC’s rulemaking authority never extended to the NVRA’s

public disclosure provision. See Pub. L. No. 103-31, § 9(a), 107 Stat. 87 (as

amended 52 U.S.C. 20508(a)); contra Sec’y Br. 42.3 Hence, as the guidance

document itself notes, the FEC “d[id] not have legal authority either to interpret the

Act or to determine whether this or that procedure meets [its] requirements”; its

suggestions were “offered without force of law, regulation, or advisory opinion.”

National Clearinghouse on Elec. Admin. at P-1; see United States v. Mead Corp.,

      3
         HAVA transferred the FEC’s functions and powers under the NVRA to
the Election Assistance Commission. See Pub. L. No. 107-252, § 802, 116 Stat.
1726 (52 U.S.C. 20508(a)).
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533 U.S. 218, 231-232 (2001). For another, the statement’s placement after

discussion of Section 8(i)(2) suggests that the FEC may have believed that only

those records specified in Section 8(i)(2) must be retained and disclosed—a

reading that, as just discussed, would run afoul of the statutory text. However, the

document gives no rationale for the statement upon which the Secretary relies.

And it is the statute’s clear language that ultimately controls. See Goncalves

Pontes v. Barr, 938 F.3d 1, 3 (1st Cir. 2019).

                                         II

THIS COURT SHOULD CERTIFY THE QUESTION OF EXCEPTION J’S
       SCOPE TO THE MAINE SUPREME JUDICIAL COURT

      Whether the NVRA preempts Exception J depends on what Exception J

actually restricts. The district court determined that Maine’s Use Ban would

prohibit using Voter File data either to help analyze other States’ NVRA

compliance or to enforce the NVRA against other States, and that the

Dissemination Ban would prohibit requestors from publicly releasing Voter File

data. Doc. 87, at 11-12 & nn.17-18. PILF has gone further, arguing that the Use

Ban would prohibit it even from using Voter File data to enforce the NVRA

against Maine. Doc. 84, at 5-6. The Secretary does not dispute (Br. 46) the district

court’s characterization of the Dissemination Ban, but she argues (Br. 58-61) that

the Use Ban would not prohibit PILF from enforcing the NVRA or analyzing other

States’ NVRA compliance.
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      This state-law interpretive dispute is best resolved by Maine’s highest court.

While “federal courts have the power” and “the duty” “to adopt narrowing

constructions of federal legislation,” they “are without power to adopt a narrowing

construction of a state statute unless such a construction is reasonable and readily

apparent.” Boos v. Barry, 485 U.S. 312, 330-331 (1988) (emphases added).

Bedrock federalism principles animate this distinction. For one thing, “the federal

tribunal risks friction-generating error when it endeavors to construe a novel state

Act not yet reviewed by the State’s highest court.” Arizonans for Off. Eng. v.

Arizona, 520 U.S. 43, 79 (1997). For another, any federal interpretation could well

prove ephemeral, “because federal courts cannot make their state-law

interpretations binding on state courts.” Mount Vernon Fire Ins. Co. v. VisionAid,

Inc., 875 F.3d 716, 728 (1st Cir. 2017). For this same reason, “Supreme Court

precedent warns against accepting as authoritative an Attorney General’s

interpretation of state law when the Attorney General does not bind the state courts

or local law enforcement authorities, as is the case in Maine.” NCTA -- The

Internet & Television Ass’n v. Frey, 7 F.4th 1, 19 n.13 (1st Cir. 2021) (internal

citation and quotation marks omitted).

      Here, both parties put forward plausible interpretations of Exception J, and

no Maine court has yet passed on the statute’s meaning. Indeed, the Use and

Dissemination Bans are even more ambiguous than the parties’ disagreements
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illustrate. Perhaps because Maine enacted it in response to PILF’s lawsuit,

Exception J mentions only “list maintenance.” Me. Stat. Tit. 21-A, § 196-A(1)(J)

and (1)(J)(1) (2023). It thus appears to forbid requestors from using Voter File

data to help register voters, even though increasing registration is a key purpose of

the NVRA. Meanwhile, the Dissemination Ban does not define what constitutes

making data “accessible by the general public.” Id. § 196-A(1)(J)(2). Would it

include engaging in a “door-to-door canvassing effort to confirm the accuracy of”

duplicated or error-ridden voter records (Doc. 84, at 6), or contacting voters to tell

them they had been removed from the rolls?

      “Speculation by a federal court about the meaning of a state statute in the

absence of prior state court adjudication is particularly gratuitous when … the state

courts stand willing to address questions of state law on certification from a federal

court.” Arizonans for Off. Eng., 520 U.S. at 79 (citation omitted). Certification is

appropriate here. This Court “may certify a question to the [Maine Supreme

Judicial Court acting as the] Maine Law Court where there are ‘questions of

[Maine] law ... that may be determinative of the cause and ... there is no clear

controlling precedent in the decisions of the Supreme Judicial Court.’” Franchini

v. Investor’s Bus. Daily, Inc., 981 F.3d 1, 10 (1st Cir. 2020) (second alteration in

original) (quoting Me. R. App. P. 25(a)). The Court may certify sua sponte, even

if “[n]o request for certification was made” by the parties “in the district court or in
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this court.” Brown v. Crown Equip. Corp., 501 F.3d 75, 77 (1st Cir. 2007),

certified question answered, 960 A.2d 1188 (Me. 2008). A binding, limiting

construction of state law could eliminate the preemption dispute over the Use Ban

and at least narrow the dispute over the Dissemination Ban, helping to avoid

unnecessary constitutional rulings.

                                         III

IF THE DISTRICT COURT CORRECTLY INTERPRETED THE USE AND
 DISSEMINATION BANS, THE NVRA PARTIALLY PREEMPTS THEM

A.    As Interpreted By The District Court, The Use And Dissemination Bans Pose
      Obstacles To Fulfilling The NVRA’s Purposes And Therefore Are Preempted
      To The Extent Of The Conflict

      Should the Court decline to certify, or should the Maine Supreme Judicial

Court broadly interpret Exception J’s restrictions, then the preemption issue will

persist. Assuming the district court correctly read the Use Ban, and based on the

parties’ agreed reading of the Dissemination Ban, the district court’s preemption

analysis is largely correct. See Doc. 87, at 12-13. Both bans have applications that

conflict with Section 8(i) as read in light of the NVRA’s purposes, and the NVRA

preempts them as to those applications, including in this case. But preemption

extends only to applications of Exception J that prohibit uses or disseminations of

disclosed information that would further the NVRA’s purposes.

      As the NVRA lacks an express preemption provision, “the parties have

focused their arguments solely on * * * ‘obstacle preemption.’” Maine Forest
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Prods. Council v. Cormier, 51 F.4th 1, 6 (1st Cir. 2022). Obstacle preemption

occurs when “the challenged state law ‘stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress.’”

Ibid. (citation omitted).

      Certain standards designed to limit preemption do not apply to statutes

enacted under the Elections Clause. That Clause “invests the States with

responsibility for the mechanics of congressional elections, but” grants Congress

“paramount” authority to override States’ choices. Arizona v. Inter Tribal Council

of Ariz., Inc., 570 U.S. 1, 9 (2013) (citations omitted). In short, the Elections

Clause itself confers preemptive power. Id. at 14. This means that the

presumption against preemption used in Supremacy Clause cases does not apply to

“Elections Clause legislation” like the NVRA. Id. at 15. Nor need courts search

for evidence of congressional intent to preempt contrary state laws. See id. at 14.

And in Elections Clause cases, courts “do not finely parse the federal statute for

gaps or silences into which state regulation might fit,” as doing so “could

fundamentally alter the structure and effect of” the federal statute. Fish v. Kobach,

840 F.3d 710, 729 (10th Cir. 2016).

      1. The central preemption inquiry is whether the NVRA “confers a right on

private actors (either explicitly or implicitly) that conflicts with [Exception J’s]

restrictions.” Maine Forest Prods. Council, 51 F.4th at 8. “[I]n determining the
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preemptive scope of a congressional enactment, [courts] rely on the plain language

of the statute and its legislative history.” Medicaid & Medicare Advantage Prod.

Ass’n of P.R., Inc. v. Emanuelli Hernandez, 58 F.4th 5, 11 (1st Cir. 2023) (citation

omitted). Here, both indicate that Congress intended to authorize disclosure,

dissemination, and use of records in aid of the NVRA’s purposes.

      a. Section 8(i) requires States to “make” covered records “available for

public inspection and, where available, photocopying.” 52 U.S.C. 20507(i)(1).

This language plainly contemplates uniform disclosure. It gives every member of

the public a right to view and copy the same information upon request—a right

they may enforce through litigation. 52 U.S.C. 20510(b). States may not

“condition[] that right * * * upon compliance with a rule” that “is inconsistent in

both purpose and effect with the remedial objectives of the federal” statute. Felder

v. Casey, 487 U.S. 131, 153 (1988).

      Congress enacted the NVRA to “provide uniform national voter registration

procedures for Federal elections.” Senate Report 3. By doing so, Congress stated

in the NVRA’s text, it aimed both to expand voter registration and to protect the

integrity of the electoral process. See 52 U.S.C. 20501(b). Because it often is

necessary to use or disseminate disclosed data to fulfill these twin purposes, States

may not condition Section 8(i)’s disclosure right on compliance with overbroad use

or dissemination restrictions. See Felder, 487 U.S. at 153. For similar reasons,
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one also may view Section 8(i)’s disclosure right as carrying with it additional

“implicit federal right[s],” Maine Forest Prods. Council, 51 F.4th at 10, to use and

disseminate the disclosed information as needed to fulfill the NVRA’s purposes.

      Disclosure is necessary to determine whether those who are eligible to vote

have been registered and remain on the rolls, but voter data must then be used and

circulated to the broader public if voter registration is ever to be increased as a

result. See Voter Registration: Hearing Held Before the Subcomm. on Elections

of the H. Comm. on Admin., 103rd Cong., 1st Sess. 111 (1993) (statement of

Edward A. Hailes, Counsel, Wash. Bur., NAACP) (praising inclusion of Section

8(i) in draft NVRA because “[t]hese records could be used to identify and assist

voters ensnared in a state of voting rights uncertainty”).

      Similarly, “[i]t is self-evident that disclosure will assist the identification of

both error and fraud in the preparation and maintenance of voter rolls.” Project

Vote, 682 F.3d at 339. But to analyze and advocate for improvements to list

maintenance practices, it often will be necessary to use voters’ data and to

disseminate it to election officials or others.

      Congress recognized, too, that “an effective national voter registration

program must also include private civil enforcement,” which “can encourage

action to assure that a reasonable effort is undertaken to achieve [the registration

program’s] objectives in all States.” Senate Report 21. Such civil enforcement
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efforts also will often require using—and may require publicly revealing—certain

personal voter data.

      b. Pointing to the Freedom of Information Act (FOIA), the Privacy Act, and

the Civil Rights Act of 1960, the Secretary counters (Br. 35-36, 56-57) that

Congress has implemented a general federal policy of protecting privacy. But each

of these statutes imposes its own unique set of restrictions on disclosure, use, and

dissemination—restrictions that Section 8(i) does not share. See 5 U.S.C.

552(b)(6) (FOIA) (creating general disclosure exemption for personal privacy but

imposing no post-disclosure restrictions); 5 U.S.C. 552a(b) (Privacy Act) (limiting

disclosure only to certain recipients or to recipients promising to use information

for specified purposes); 52 U.S.C. 20703 and 20704 (Civil Rights Act) (restricting

disclosure to Attorney General and strictly limiting further dissemination). Far

from indicating a blanket federal policy of privacy protection, the distinctions

between each of these laws shows that Congress balances anew in each disclosure

statute the benefits of public knowledge with the costs of reduced privacy.

      2. Having demonstrated the private disclosure right that Section 8(i) affords,

along with the use and dissemination rights that flow with it, “the conflict with

[Exception J] becomes starkly apparent.” Maine Forest Prods. Council, 51 F.4th

at 10. The Use Ban, as the district court interpreted it, would prohibit using Voter

File data to examine other States’ compliance with the NVRA. Doc. 87, at 11.
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The Use Ban also may outlaw using Voter File data for voter registration activities.

See p. 20, supra. Such uses of data are needed to fulfill the NVRA’s purposes, and

Section 8(i) protects them. Likewise, the district court determined that the Use

Ban would prohibit using the Voter File as evidence to help enforce the NVRA

against another State. Doc. 87, at 12 n.18. Not only would this improperly

condition Section 8(i)’s core disclosure right and conflict with Section 8(i)’s

implicit right to use disclosed data; it also would interfere with the NVRA’s private

right of action for anyone “aggrieved,” regardless of “the State involved.” 52

U.S.C. 20510(b)(1).

      The Dissemination Ban, too, conflicts with the NVRA. Section 8(i) requires

records to be “ma[d]e available for public inspection.” 52 U.S.C. 20507(i)(1).

Dissemination restrictions thus burden the rights both of requestors and of the

broader public entitled to view this information. Public interest groups and others

often use lists of names and addresses in a public way to help enforce the NVRA’s

purposes, whether to re-register erroneously removed voters or to force States to

improve their list-maintenance processes. But the Dissemination Ban prohibits

making public any information that even could be combined with other

information to identify voters. Me. Stat. Tit. 21-A, § 196-A(1)(J)(2)

(2023). Exception J would thus prohibit a requestor, for instance, from creating a

website with a list of “inactive” voters and encouraging voters to check if they are
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on the list so they can avoid removal from the rolls. This broad ban on publicizing

disclosed information “is ‘inconsistent with’ the NVRA’s mandate” as applied to

circumstances in which public dissemination would serve the NVRA’s purposes.

Arizona, 570 U.S. at 15 (citation omitted).

       Maine still can enforce Exception J when it would not interfere with the

NVRA’s express purposes. And Maine could pass a narrower, better-defined set

of use and dissemination limits. But as interpreted by the district court, the NVRA

partially preempts the current bans.

B.     NVRA Preemption Does Not Prohibit Redaction Of Sensitive Voter
       Information Or Enforcement Of Other Laws Prohibiting The Misuse Of
       Personal Data

       While Maine’s privacy concerns do not justify an unduly restrictive reading

of Section 8(i)’s text and purposes, those concerns are substantial. It is important,

therefore, to emphasize the limits on Section 8(i)’s preemptive scope. The line

between permissible and impermissible conditions on disclosure can be complex

and fact-dependent; what follows are merely illustrative examples of acceptable

restrictions.

       First, the NVRA does not prohibit States from redacting “uniquely sensitive

information” like voters’ Social Security Numbers before disclosing records.

Project Vote, 682 F.3d at 339. Nor does it prohibit redacting an even broader set

of personal information in certain sensitive circumstances—for instance, the names
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and personal information of people subjected to criminal investigation (but later

exonerated) on suspicion of being illegally registered to vote. See Public Int.

Legal Found., 996 F.3d at 267.

      Second, Section 8(i) does not preempt state-law use restrictions as to uses

that would not further the NVRA’s purposes. For instance, as the Secretary notes

(Br. 45), many States prohibit using information from voter registration lists for

commercial purposes. Such prohibitions do not “frustrate[]” the NVRA’s

“operation within its chosen field” and so would not be preempted. Emanuelli

Hernandez, 58 F.4th at 11 (citation omitted).

      Third, similarly, the NVRA does not preempt bans on disseminating

personal data whose public broadcasting is not necessary to achieve the NVRA’s

purposes. For example, States may need to disclose voters’ years of birth, parties

of registration, or voting history so requestors can determine whether States are

complying with the NVRA’s list-maintenance and non-discrimination

requirements. See 52 U.S.C. 20507(b). But, outside the contexts of directly

assessing and litigating NVRA compliance, state publication bans would be less

likely to impede the statute’s purposes.

      Finally, the NVRA does not authorize requestors to disseminate disclosed

information for a purpose or in a manner that harms voters. Most prominently, the

NVRA’s disclosure provision does not revoke or preempt federal or state laws
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against voter intimidation. Contra Sec’y Br. 57. Both the NVRA and federal

criminal law authorize prosecutions for willfully intimidating, threatening, or

coercing people for registering to vote or voting. 18 U.S.C. 594; 52 U.S.C.

20511(1). The Voting Rights Act also authorizes civil suits to prevent or remedy

acts with the effect of intimidating voters. See 52 U.S.C. 10307(b) and 10308(d).

And nearly all States, including Maine, impose their own restrictions on voter

intimidation, threats, or coercion. See Theodore Z. Wyman, Litigation of Voter

Intimidation Law § 8, 174 Am. Jur. Trials 385 (May 2023). Additionally, the

NVRA does not preempt state laws prohibiting libel or other dangerous uses of

voters’ information.

      Below, PILF agreed with several such limits on NVRA preemption. Noting

Maine’s concerns about publicizing “ethnic and language minorities[’]” personal

information, voter intimidation, and “misuse by ‘scammers, hackers, commercial

interests, or foreign governments,’” PILF stated that it “does not allege an intention

to engage in these activities nor that they were intended by Congress, much less

that they would further the NVRA’s objectives.” Doc. 84, at 3 (citations omitted).

It has made similar concessions on appeal. PILF Br. 50-51, 52. PILF was right to

acknowledge these limits on preemption but wrong to claim (PILF Br. 50) that

disclosures of personally identifiable information are “imaginary monsters.” See
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Sec’y Br. 14-15, 49-51. This Court also should emphasize limits on preemption—

plus the others discussed above—to avoid abuse of sensitive voter data.

                                 CONCLUSION

      This Court should certify to the Maine Supreme Judicial Court, or else

affirm on the issues addressed herein.

                                                  Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

        I certify that the attached BRIEF FOR THE UNITED STATES AS

AMICUS CURIAE IN SUPPORT OF PLAINTIFF-APPELLEE URGING

CERTIFICATION OR AFFIRMANCE ON THE ISSUES ADDRESSED

HEREIN:

        (1) complies with the type-volume limitation of Federal Rule of Appellate

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                                             s/ Noah B. Bokat-Lindell
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Date: July 25, 2023
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                         CERTIFICATE OF SERVICE

      I certify that on July 25, 2023, I electronically filed the foregoing BRIEF

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